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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

 ROXANNE MOYER                                           CIVIL ACTION
 VERSUS                                                  NO. 11-3185
 SIEMENS INDUSTRY, INC., ET AL                           SECTION “E” (2)


                                   JUDGMENT


      Considering the verdict rendered by the Jury, accordingly;

      IT IS ORDERED, ADJUDGED, AND DECREED, that there be judgment in

favor of defendants Siemens Industry, Inc. and Signal Metal Industries, Inc. and against

plaintiff Roxanne Moyer, individually and on behalf of her decedent husband, Samuel N.

Moyer, dismissing plaintiff’s complaint.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED, that the petition

of intervention of ArcelorMittal is dismissed as moot.

      New Orleans, Louisiana, this ________ day of July, 2013.




                                                          SUSIE MORGAN
                                                   UNITED STATES DISTRICT JUDGE
